 Case 9:12-cv-80364-KAM Document 42 Entered on FLSD Docket 07/03/2012 Page 1 of 48




    IN TH E UN ITED STATES DISTRICT CO URT FOR TH E SO UTH ERN
         DISTRICT OF FLO RIDA W EST PA LM BEACH DIV ISIO N

                                   CASE NO .12-80364-CIV-M A RRA/BRANNO N
                                                                   FILED by              D.C.
STATE O F FLO RIDA,EX RELATIO NE )
                    JOHN KORM AN )                                    JUL          2212
                       Relator,  )
                                 )                                    SiT2EVRE
                                                                             /tl
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                                                                             OF Lâ.-w.R .
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                                 )                   CIVIL R IG H TS
AURORA LOAN SERVICES LLC;       )                               FO RG ERY
OFFICE OF CEO,AND PRES OF AURORA;)                               U SUR Y
AURORA BANK FSB;                 )                        C IV IL C O N SPIR AC Y
M ERSCORP HOLDINGS,INC;          )                         STELLIONATION
M O RTG AG E ELECTR ON IC                                  IN TR IN SIC FR AU D
REG ISTR ATION SYSTEM S IN C;                            A TTEM PTED LAR C ENY
LEH M AN X S TRU ST 2006-11;                          FR AU DU LEN T CO NV ER SIO N
LA SALLE BAN K N.A .asTR USTEE;                         CONSTRUCTIVE FRAUD
U.S.BANC ORP assuccessorTR USTEE;                        VIOLATIO N O F FDCPA
A SSO CIATES LAND TITLE INC ;                             V IO LA TIO N O F TC PA
TH EO DO RE SCHU LTZ,lndividualn       '                  VIOLATIO N OF FCRA
LA U R A M C CA N N ,lndividual;             )           VIO LATION OF FD U TPA
CY NTH IA W ALLAC E,lndividual,      '        )               M A IL FR A UD
JOA NN R EIN ,Individual;                     )               W IR E FR AU D
LAW O FFICE O F DA VID J.STERN P.A .;         )                UTTERING
D A V ID JA M ES STE R N ,Esquire;            )                R I.C.O .
K AR O L S.PIERCE,Esquire;                    )        FRAUDULENT INDUCEM ENT
C A SSA N D R A R AC IN E-R IG A U D ,Esquire;)              FALSE C LM M
M ISTY BA R N ES,Esquire;                     )           M ORTGA GE FRAUD
DARLINE DIETZ,Notary;                         )        PROFESSIO NAL NEGIGENCE
JOHN DOE 1- 100;                              )
JANE DOE 1- 100;                              )               DEM A ND FO R JURY
                                              )                    TR IA L
                                  Defendants. )                 Fed.R.CiV.P.38(b)
                                                 /


          M EM O M NDU M IN SUPPORT OF PLAINTIFF'S M O TIO N
                        TO A M END CO M PLA INT


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     Plaintiff,State ofFlorida filesthisM em orandum in supportofitsM otion to

am end itsComplaint;am ended becauseitrem oved the dropped parties,rem oved

unnecessary COUN TS,removed supposition and speculative argum ents,and

substituted the State ofFlorida asthePlaintiffin the statusofe,x rel.State ofFlorida is

a subsidiary oftheCorporate United States,see the Clearfield Doctrine.StateofFlorida

reduced the numberofpagesin the Am ended Com plaintfrom 233 to l18,and reduced

thenumberofparagraphsfrom 1062 to 538,saving on Judicialresourcesand atthe

sam e tim e trying to bring to lightthe really im portantissue,theon-going crim inal

entem risewhich is(sic)illegally displacingthousandsofpeople,usingtheJustice
system to facilitateacrime,andthereafterenforcementofsame,which isunjust,
inequitable,and unconscionable,notto mention illegal.In other-w ordstheA m ended

Com plaintconform sto the evidencein hand.



                                 1.     INTROD UCTIO N



       M ay 15th2009JoHN KO              (hereinafterttRelator'')wasserved withalis
 pendens by the Law OfficesofDavid J.Stern P.A .cfaI.,re-presenting AURORA

 LOAN SERVICES LLC,the Servicer.The Servicerpretending to bethe Creditor

 m isinform ed the Law OfficesofD avid J.Stern P.A .,itw astheçtownerand H older''of

 theM ortgage-No-
                fE,butthesedocuments(M ortgage-NoTElismissing,howeverthe


 KORM AN vAUROM et2.                    Page 2 of 10
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proofofownership isfound in a docum enttitled CO RPOR ATE ASSIG NM ENT O F

M O RTG AG E,which purportsto assign the NOTE.The Court'sreliance on an

A ssignm entfrom M ORTGAGE ELECTRONIC REGISTRA TION SYSTEM S lN C .,

(hereinafterttM ERS''),whichpurportsto assign aNOTE isan obviouscloud onthe
Title ofthatproperty in question,
                                'see ttExhibitDD''hereto attached and incorporated

herein by reference,titled IN Tl'
                                lE NEBRA SK A COURT OF APPEALS CA SE N O .A -

04 000786,filed O ctober 15th2004.
  -                              ,m aking itcrystalclearM ERS hasno nexusto a
NOTE,and M ERS form ally disavow sany presumption M ERS holdsa beneficial

interestin any N OTE.Furtherm ore M signm entsin question area1lexecuted thereafter

recorded w hilethe Assignor/GrantorisunderBankruptcy protection,in violation of 11

U.S.C.j362(a)(3).


                            11.STA TEM ENT O F FACTS


       PursuanttoRule 15 and 19(a),JOHN KO             (hereinaûer'A elator'')
 respectfully requested leave to ;le an Amended Complaint;FederalR uleofCivil

 Procedure 15 statesthata party m ay am end apleading once as am atterofcourse atany

 time before a responsivepleading is served.There havebeen no responsive pleadingsin

 thisinstantmatterpriortotheslingoftheAmendedComplaint.HlLleaveshallbe
 freelygivenwhenjusdcesorequires.''SeeFoman v.Davis,371U.S.l78(1962).
 Furtherm ore,the OriginalCom plaintand theAm ended Complaintspecifically reserved


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therighttoAmend asmaterialfactscometo lightkseeComp! f11,andAmendedComp.
! C'1.
     ,
       RelatorhasStandingtobringthisClaim asan injured party,and isaFederal
W itnesswith firsthand knowledgeofthe facts.The Office ofPrivateAttorney General

iscreated and authorized by an ActofCongress,93 Stat.284,Public Law 96-170,

D ecem ber29th1979, an Actto permitcivilsuitsundersection 1979 oftheRevised

Statutes42 U .S.C .1983,
                       'i.e.,
      ThisCourthavingtaken JudicialN otice ofDefendant'stçExlzibitl''w illfind

COUNT 1lldf...acdon // enforcea lost,destroyedorstolenpromissory noteand
mortgage...''ergo,AIJRORA LOAN SERVICES LLC (hereinafterIW URORA''Iwas
notin actualpossession oftheM ortgage orNOTE on the date ofcom m encem ent,M ay

13th 2009.




             AURORA'SentireForeclosureActionagainstRelator(Defendant's
Exhibit1'3 and againstotherssimilarlysituatedrestsentkely uponanAssignmentfrom
M ERS,executed and recorded contemporaneously w ith a Bankruptcy proceeding

 againstthe Assignor/Grantorin W olation ofthe Autom atic Stay,see Title 11U .S.C.

 Section 362(3).
             ThisCourttakingJudicialN otice ofDefendant'sttExhibitl''willfind

 Relator'salleged N OTE attached thereto,isççspecially-lndorsed''setoverto LEHM AN

 BROTHERS HOLD ING IN C,S ithoutrecourse''from LEHM AN BROTHERS

 BA '
    N K FSB ;how ever,


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            M ERS acting asnom inee forLEHM AN BROTHERS BAN K FSB

A ssigned the sameN O TE originally setoverto LEHM AN BROTFIER S HOLDING

W C to AUROR A,Stellionation,w hich isa crim e,and isalleged to be an on-going

regularly conducted everyday typebusinessactivity by AURORA etat,directly

effecting Relatorand otherssim ilarly situated;furtherm ore,theA ssignm entpurportsto

A ssign theM ortgagetogetherwith the NOTE,how everthisM ortgage-No 'rE which is

presum ptively in possession ofLEHM AN BROTX RS BA'
                                                  NK FSB isnotdisclosed to

itsJudicialTrustee adm inistering the Banknlptestate,asone itsholdings.

            Relatorchecked the publicrecordsoffice oftheRegistrarofD eeds ofPalm

Beach County and foundnolessthanone-hundred-and-eighty (180)Assignments9om
M ER S asGrantor,acting in the capacity asnominee forLE          BRO TX R S

BAN K FSB,setovertheM ortgagetoeetherw ith the NO TE to AU ROR A in theyear

of2009,while LEIIM AN BRO TIIER S BAN K FSB petitioned the courtforBankruptcy

protection Septem ber15t'
                        b2008.
                             ,


            M ERS isA ssigning the NO TE directly from the Bankruptestate of

LEHM AN BROTHERSBA'
                  NK FSB withoutthejudicialTrusteeratifyingthe
negotiation;because,

            M ERS Certifying Officerknow sitisactually A ssigning aPhantom -

M ortgage-N o'rE 9om the BanknlptestateofLEHM AN BROTIIERS BANK FSB,asfor

an exam ple,Relator'sN OTE isheld by LEHM AN BRO THERS HOLDING IN C,prim a



KORM AN v AURORA % 4.                 Page 5 of 10
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fascia,ergo,theAssir mentisanUttereddocument,createdfrom who1e-c1oth,resulting
in the creation ofa counterfeitpublicrecord.AURORA hasorisintentionally and

know ingly caused to becreated thousandsofcounterfeited public records;foran example

see Com pilation ofttExhibitDE''hereto attached and incop orated herein by reference,

containseight(8)trueand correctcopiesofCertifiedCop orateAssignmentsof
M ortgage,gathered by Relatorand copied from the ftrstelectronicpage ofthepublic

records,which doesinclude Relator'sCORPORATE A SSIGNM EN T OF M OR TGAGE.

Each oftheseAssignments(ExhibitDE)shareacommon tlzread;eachAssignmentis
titled CORPORATE A SSJGNM XN T OF M ORTGAGE;each Recording isrequested by
                                                           -




AURORA;each A ssignm entisprepared by AURORA;each A ssignorisM ORTGAGE

ELECTRON IC REGISTRATION SYSTEM S INC asnom inee forLEHM AN

BRO THER S BAN K FSB;each Assignee isAURORA LOAN SERVICES LLC;each

Assignmentptlp ortsto assign the GGM ortgage togetherwith theN 0 TF ',
                                                                     'each

Assignm entdisplaystheM ERS Corporate Seal;each Assignm entisrecorded in theyear

of2009,howeverthreequarters(3/4)oftheAssignments(ExhibitDE)arenotrecorded
on the date ofcom m encem ent,creating serioustitle issuesin theirown right;and a11of

the AssignmentsoccuraherLEHM AN BROTHER S BA'
                                            NK FSB petitioned the Courtfor

Bankruptcy protection,iftl'ue is a Contem ptof Court,each instance unique.



                                 111.A R G U M EN T



KORM AN v AUROM a al.                Page 6 of 10
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      Theefficientadministration ofjusticerequiresthataPlaintiffisgiven leavetofile
an AmendedComplaint.FederalRuleofCivilProcedure l5(a)requiresthatleaveto filean
AmendedComplaintbe .freeV given whenjustkeso requires.''Thisstandard isreadily
m ethere'
        ,asam ore detailed description ofthe issue athand isfound in the Am ended

Com plaint,narrow ing the scope ofthe issue presented in thislitigation and willpreventthe

Court'stim e from being wasted attrialon collateralissues.The courtm ay allow the

pleadingsto be am ended to conform to the evidence and shalldo so freely w hen them erits

ofthecausearemoreeffectuallypresentedthereby and theobjectingparty failsto satisfy
theCom'tthattheadmission ofsuch evidencewillprejudicetheobjectingpartyin
m aintaining an action ordefense upon the m erits.

      Defendantswillnotsufferanyprejudice'
                                         ,astheU .S.Supreme Courtdeterminedthat
GJI7#ltheabsence@.f...unduedelay,badfaith ordilatory llloffve...undueprejudice...
futility ofamendment,etc.-theIeavesoughtshould ...be freely given-''Fom an v.
D avis.The Sixth Circuitapplies a balancing testofthese factors,w hich turns

onsubstantialprejudicetotheopposingparty.See,e.g.,Lawsonv.Truck Drivers.
Chauffeurs& Helpers.LocalUnion 100,698 F.2d 250,256 (6th Cir.1983).
                                                                  ,Haeem an
v.SienalL.P.G as.Inc-,486F.2d 479,484 (6th Cir.1973).Nosuchprejudiceexists
herein.




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              TheA mended Complaintdoesnotadd any causesofaction, butrather

 more clearly describesthe issuesin the causesofaction identified in the original

 complaint,j.c., D efendnnts'W olation of 11U S.C.j362(a)(3),ifwefind LEI'
                                               .
                                                                         IM AN
BROTHERS BA'
           NK FSB actually held theproperty assigned, alternatively,should the

Courtfind AURORA fabricating Assignm ents9om w ho1e-c1oth knowing thereisno

substanceto the claim createsand presentsa substantialand specific dangerto the

public'shealth,safety orwelfareforoverninetypercent(90%)ofpeopleforced into
foreclosure by thisServicerAUROM      ,   peoplew ho borrowed m oney 9om LEHM AN
BRO TX R S BANK FSB n/k/a AURORA BANK FSB , asthese people are either un-

represented,under-represented, orchoseto abandon theirproperty due to AURORA 'S

Superior-c owledge and funding, ergo AURORA ispreying upon thew eak and un-

inform ed by seizing property by employing a trick  .




              Comm erce operatesin truth;dem and fortruth ism adeofal1partiesforfull

disclosure.

      ln United Stateslaw ,theErie doctrine isa fundam entallegaldoctrine ofcivil

procedtlremandatingthatafederalcourtin diversityjtlrisdiction (andsomealliedstate-
law claimsinfederal-law actions)mustapply statesubstantivelaw.Thedoctrinefollows
from Suprem e Courtlandm ark decision in ErivRailroad Co. v.Tom pkins,304 U.S.64,

58 S.Ct.817,82L.Ed.1188 (1938$ decidedonApril25,1938,writtenby JusticeLouis
Brandeis.The case overtlzrned Sw iftv.Tvson, which allowed federaljudgessi
                                                                         tting in a

KORM AN vAUROM G al.                 Page 8 of 10
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 stateto ignore thecomm on 1aw localdecisionsofstate courts in the sam e state, in cases

 basedon diversityjurisdiction.TheEriedoctrinetodayappliesregardlessofhow the
 federalcourtm ay heara stateclaim W hetherthe federalcourtdecidesa state1aw issue
                                    .




vis-a-visdiversityjurisdiction orbanknlptcyjurisdiction,thefederalcourtmusthonor
state comm on law when deciding state law issues See,generally,United M ine W orkers
                                                      .




v.Gibbs,383 U.S.715 (1966)and Butnerv.United States,440U.S 48 (1979).State                                     .



judge-maderulesisevery bitasbinding onthefederalcourtsasisstatestattltory
provisions.


                                   CONC LUSIO N


Forthe foregoing reasons, M otion forLeaveto File Am ended Com plaintshould be

GRAN TED .


Respectfully subm itted,



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                                                                    B oca R aton 33486
                                                                                    Florida U .S.A .
                                                                                    (561)393-0773
                                                                      konuanzool@ comcast.net

KORM AN vAUROM a a1.                    Page 9 of10
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                            CER TIFICA TE O F SERV ICE

TH E UND ERSIG NED H EREBY CERTIFIES thata true and correctcopy ofhereof
hasbeen forwarded,viafirstclassU .S.M ail,to the follow ing'
                                                           ,Steven Ellison,Esquire,
Broad and Cassel,OneN orth Clem atisStreet,Suite 500,
W estPalm Beach Florida 33401,
                             '


V ia e-m ailto the follow ing;

H A RR IS K .SO LOM O N
h- is.solomon@brie leymorgan.com
STA CY M .SCHW ARTZ
Stacy.schwm z@briA leymorgan.com
ALBA L.CLEVELAND
Alba.cleveland@briA leymorgan.com
KALEY LOM BARD O
Kaley.Lombrdo@brinkleymorgan.com

Spencer Tew
st@tewlaw.com
on this 3rdday ofJuly,2012   .




                                                                Jolm K orm an
                                                               934 SW 21* W ay
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 KORM AN vAURORA d 2.                Page 10 of 10
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                                                                       IN M           NEBM SKA COURT OFAPPBALS



                      '


                                         M ORTGAGB ELBCTRONIC REGJSTRATIONS S .STEM S,INC.s
                                                                                         Plaintiff/Appellant                                    '
                                                                                                                                       zj           .'
                                                                                                       13*                                          r.a
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                                                NEBRASKA DBPAR                               NT OFB          G                              ;        :
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                                                                  APPBA L    TH E DISTRICT COU RT 0F
                                                                        C S R CO      ,N EBR ASK A

                                                                                       Hbnorable John A.Colbom

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                                                                                  '




            Prepared and m bm ited by:

            TamesM .pfeffer,#19177
            Joseph T.Breckenridge,#21918
                                                                                                                                   FILED
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            t-kmnAa,N ebo ska 68114                                                                                 NEBM BKASU
                                                                                                                            GLERK
            Telephone(402)392-1250                                                                                                 COO TOFA
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                                                                                                                                                    PPEALS
            Attom oysforPlailttiff/Appcllant



            113/3031513
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ARGUM ENT

                  THE DISTRICT COURT ERRED IN CONCLUDW G
                  THAT M ERS X ETS THE DEFINITION 0F A
                 ''MORTGAGE BANKERDte ER NEB.REV.STAT.û
                 45.702463 AND B TIIEM FORE REQUIRED TO
                 IySEIIIF
                        IIIeINiiI?LZI:I;:1uIQftT/IiL
                                                   RINIyAGB 1)?VW ER ......-........----.............--...-.....
                 I.A. MBRS DOES NOT RACQITfRW' MORTGAGB
                            Lou s OR ENGAGE IN ANY OF 'I'
                                                        flE OTHFR
                            M ORTGA GE                 BAN K W G               ACTM 'IXES
                            ossclRlBl!p IN j 45-70246). AND H RS'
                            ABY ITY TO BM RCISE INTERESTS IN A
                            M ORTGAGE LOAN m CLUDW G TI1E RJGHT
                            Tf) FOREI7LOsE, IS NOT SUFFICX NT TO
                            DEEM THAT M ERS ACQUX S M ORTGAGE
                            LoM s BECAU SB < R S M ERELY ACTS IN A
                            No>       Ec CA ACITY FoR T1fE 0* -                           A&D
                            H OLDER         OF       TA E PROY SSOR Y                   N OTE
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, * /303151.5
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             I.B. '
                  ITtE DISTRICT COURT SHOULD HAVE
                  RECOGNIZED 'I'HAT M ERS'OMM RSID OF
                  A LEGAL TNTEREST IN R'11B SECURITY
                        DOCUM E'NT DOES NO: BQUATE TO M ERS'
                        OW N-ERSHIP OF TTIE PRONJSSORY NOTE OR
                         OTHER DEBT LNSTRITM ENT EW DENCW G
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                                      lfrIStEZ'kIThI3:t*o *1711EE4CONSM -...-......-............--.....                       12
       11.   THE' DISTRIW COURT BRRED BY FAII,m G TO
             DE         'IH AT M ORTGAGN LOAN CON VIM RR:
             W II.L NOT BE HARM ED IF * )45 IS NOT
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                                                            TABLE 017CASES

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    DLH,Inc.v.Lancask.   erC           'Boardofcommu'sioners,2 N -358.
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    Henkie (êJoyceHar cre Co.v. aco,lnc.,1 N eb.565,
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    Little f/ve NaturalResources D ist. v.LowerplatteN onh A lzvr//Ro ourcesD ist.,                 .

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                                        W'2d920 (1974)..-.-.-....--.-........-..--.-
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    gouthBostonSav.zaz;àv.Comml
    u                         -ssionero Aczvezwc, 418 M ass.695,
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                    ezltr
                        m Rambler,191Neb.462a215N.W .2d S45(19744.
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*!z;(2..17..R-I?ItTI315f)().;   *:1 1ts(,1-' 21/1,?4):3 ' '  5;1?Lk,!; l'
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                   VTATEM 'ENT OF THE BASIS OF JURISDTCTION

        Thisappealfrom theDistdd CourtofLancasterCotmty,Nebraska(the''DisthctCouzfll
isbroughtpursuanttoNeb-Rev.Stal.j 25-1912. Tlletl'
                                                 ialjudgeenteredtheDistriclCourt's
Orderon M ay 27,2004. 'fhe Nofce ofIntcx
                                       ntion to Appealand rN uislte docketfee were fled
withtheDistlictCeurton June25,2004.
                              STATIA IENT OF THE CASE

       N atttre oftlleC ase

        PlakltiE/Appellant,M ortgage'BlectrorzicResstradon Systems,lnc.($*M bX g'),appeals
f'om theOrderentered by theDlstrictCourton M ay 27,2004 in favorofDefendant/Appellee,

theNebraska DcpartmentofBnnking and Finance tthe RDC artment'I. '
                                                                T'
                                                                 he DistrictCourt's
Ordcrcam easthexs*t111ofM ERS'Potition forRcW ew,which M 1:1
                                                           :11: 15led in theDistrictCourt

on Novcmbor 5, 2003, appealing the decision of the Department that NIERS m ects the

rëquirementsof a mortgage banker mlderthe Nebraska M odgage Bznkep Re/stration and
LicensingAct(the''
                 Ad''
                    ),Neb.Rcv.SK*-9545-701to45-721(1998andSupp.2p03). (:
                                                                       r38)
ln the Dlstricl Court's Order.tàe 1 a1jxdge,John A.Colhornaruled thatM ERS acquires
Tnortgage loansAmdcrtheAct.and isthcrefore mquired to reWstertmdertheActin orderto
contlntzetoconductbushessintheStateofNebraska.(1-42) '
                                                     rhev strictCourtdidnotfndthAt
there is a bifurcation of lnterests bdween the holdc of the promlssory note evidenciug a
m ortgage lo= and M BRS,which only holds the benefcialinterestin tlw m ortgagb itself,in a

norninee capacity for t'lle oqvnerand holde.
                                           roftlle promissory note sectzred by such m ortgage.

(T42)A4ERSth= fllGlthisappeal.




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B.       lssueActually Tried kldleCourtBelow

               qletheTM ERS am uixesm ortbvagesloanslmderieActand isthereforerequired

toregisterasamoztgagebnnkerin Nebraska.

C.      How theIssueW asbedded and W hatJudgm entW asEntered by tlle CourtBelow
               'fhe DistdotCOM xuled thwtM PA S does uotjte e mortgage to= undertl:e Aot
andisthereforerequiredtoregis'terasam oztgagelwqnkerinNebraska.

D.      ScopeofR evlew

        ZW judgmentrsnderedorGnalozdermadebythedistrictcourtmaybereversedavacated,
ormodo edforerrorsappemingontberecordr Ntb.Rev.Stat.925-1911.
        ç'In actiong atlaw,'
                           the G dings ofthe trieroffactwillnotbe seta idecm appealtmless

clcarly wrong. In ddermlnlng the Kuf6ciency of the oyidence to sustain thejudgment,lhat
evido ce must be considered in the liglzt most Ew orable to the successfal party. Every
ccmtroverted factm ustbe rre,
                            solvM in favom of the successfalparty,aud the successfulpady is

endtled to tllebeneltofaayreasonably dcducfblciaferences.o Henkle<QJoyceHardwareCo.v.

Maco,Inc.,195Neb.565.2!9N.W .2d772(1976).
        On a question oflaw zan apm llate courtisobligated 4o reach a conclusion independentof

t'
 hedetem u-nation ieachedbythccourtbelow.Jamesv.Paulson,261Neb.980,622 N.W .2d 857

(20û1).
                               ASSIGN IIENTS O F ER RO R

              M ERS docsnotmeetthedeEnition ofamortgagebankerbecauseM BRSdoesnot

engage ln any of the mortgage bxnka
                                  -n'g activifes dsxscribed in j 45-702(6) of thc Act.
Specl cally,the DisG ct Court GTeII in ddcrrnining that M ERS 'Ycquires''m ortgagc lotms.
Because M B,RS does notacquire m ortgage loans aqd is tllerefore nota mortgage banker for

                                              2
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pe oscsofj45-702(6),thrDisd ctCourt'
                                   sOrdc anddetermination thaf> RS isrequired to
registerasa mortgagebant-er tmderthr Actshonld'
                                              bereverse,
                                                       d and thisCozlrtsimuld fnd tbat

M BRSisnotamortgagebnnlrerlmdertheAotandisthœeforenotrequiredtoregstertmd:rtho
Act.
               '
               n eDistdctCourterre in conchzding thatM 1!1
                                                         4S'abilityto exercise interestsin a
mortgage loaa including the right to foreclose, is suo dent to deem NtERS a: acquiring
m ortgage loans Alndcrthe A otbecause the D istrict Coartfaileclto recognizethatM MRS m erely

senzes in a nominee capacify fèr the owner mqd holderDfthe promlssory note secm ed by tke .

m ortgage.
        3.     TheDistrictCoM erred by no1fmding th1 M ERS'ownership ofalegalinterest
in themortgagedoesnotequate1cW RS'owncmhip ofthepromissory note.
        4.     TheDistriotCO'IM GTGIby notfinding thatmolgageloan consumerswillnotbe

hmnnedifM ERSisnotre#steredasamortgagebaakerlmdertheAct.
                                 PRO PO W H ON S O F LA W

                                              1.

        T1'
          1E COM MDN PM LANCE 0F TI1E W ORD RACQUIRE'' IN THB
        V ORTGA OV BANKING O USTRY REFERS TO AN mV STOR'S
        ACQU SM ON OF A M ORTGAGE LOAN ON TIIE SECONDARY M ARKET.
        RouthBostonSav..
                       :r1v.Comminioner@ Revenue,640N.E2d 462 (M ass.
        1994).
                                             H.
        A M ORTGAGE M D A PROM ISSORY NOTE .A1lB SEPW                       TE AND
        DLSTINCT JNSV LM O TS.
         Craddockv.Brinkley,671So.J#662fM irxs.1996).




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    Case 9:12-cv-80364-KAM Document 42 Entered on FLSD Docket 07/03/2012 Page 20 of 48




                                                IIL
           TFIE M ERS* SYSU M DOES NOT AD:TERSELY AFTECT THE
           BORROH R'
           FEDBRAL   S RJGHT TO LOM TNFURNfARXON BECAUSE IJNDBR
                    LA                                        ,
                      W S, EAGTI TM     'ITIB SERVICING RIGIITS TO A
           M ORTGAX
           NEW       LOAN
               SERW CER    CHANGB,'
                        OF TI       IX'
                                      IB BORROWV IS NOTHRF.D OF THB
                            '
                             I; LOAN.
           24C.
              F.R.Part3500-21asof4/1/03(Illm 'sRcg:X).
                                   STAR M NV OF FACTS
           M ERS îsapivale com omtion and is awholly owfled mbsidiary ofM RRRCORP W C.
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  AV RS'solepo oseistoholdtnortgam liensinanomm
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                                                  'mitedfo= ofagency)capacityfor
 itsmembers. n emohgagehzfomudon isrelstered on t:e* RS* system The M ERS@       .


 Systeo is a nationalelectronic regigtry crcate,d by the m ortgage bImking indugtry to track the

 transfc ofmvnerslzip intereksand serdcing rightsin m ortgage loaas. (T17) Overtbellféofa
 m oztgage lom the ovvnership oftlm mortgage lo= andtheservicingzigkt.softhem ortgageloan

 are likely to be sold and resold m= y tim es. (T1O Priorto M BRS,mlassignfnentorother
 appropriate docum entwasreqlllre,d to beNled iû tlae realegtaterecordseaclttime the sereicing
 rightsofam ortgageloan werelansferrcdbccause4henew senzioerneedcd to appeaz in the laad

 records in order to receive service of process. (TI5) Ilds proctss resulted in raissed or
 iaacmlrateassignm ent,causing an tmclearorbroken chain oftifle to am ortgageloan in tbereal

estatoTocords.(T16)Asacomm uence,thetra feroftheownersbipintereM in,including legal
title 1o,m ortgage loans,and thesorvicing rightsrelatl
                                                     'ng to m ortgage lcans, arld tlle rele% e of
m ortgagelienswasacumbersom eand expensiveprocessto atlilwolved.
                                                                         (Tl6) PriortoM ERS,
conqum erswereem eciallybitkardbecauseresearch = drecozding costswez'eoften passed onto

consumezs.(T16)



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       To address these problem s,in 1991 the'Govem ment National M odgage Association

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 r lrmieM ae''
             ),theM ortgageBnnlce.
                                 lsAssodadcn ofAmerica(''M BA''),theFedcalNational
M ortgageAssociaéon tlzFan11ieM ae*),theFederalHomeLoanM ortgageComomtion CFredtlie
M ac'f)madotherswitha
                    'nthemortsragebanldng industrym'eattdM ERS toproddean electronic
regstration system and clemimghousc fordde to mortgage loansand serdchg rightsthatis
:imilar to tllc process mzccessfully tused by the Depository TnlstCompany for the securities
industry, 1 16) TheM'E'
                      RS@ System hasbeen endorsedbyaandM ERS'membc include,tlw
AIBA and m any lm'ge and prbmimentnationaland intenmtionalienders,agenciessuch asFxnna
                                                                                     'e
M aes Fredd1e M acaand Ge Atneric= T>*a Title M sociation and m any ofthe lagestand m ost

well-krmqzntitlecompanio.(T16.17)
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              .
       M ERS sewesas the mortgagee ofrecord in anominee (i.e..agm cy)capacity forthe
approximately 1600+ mortgagelendersreéstered in theM BRS@ System. M EIQS becomesthe
mortgàgee ofrecord witb Rsw ctto suc,
                                    h mortgageloant.asnom inee for'
                                                                  thebM eficialownerof

themodgageloan,in one oftwo ways: (1)thebormwerm)d thelendc nameM BRS astho
mortgagee ofrecoë atthe time tbe mortgage loan is originatc or (2) Qle lender causes a
m ortgage lien for which the lenderpreviously originated or acquired tlle note secured by the

m ortgageto be mssigned ofrecordto M ERS.soth1 M FX S becom estllemortgagce ofrecord in

therealestateTecordsinwhich1hemortgagewasrecorded.@ 3,4:3,Vol.III
        By letter datM July 11, 2002,the DepaM ent notifed M ERS thatM ERS lheets the
defnition ofamortgagebMt'
                        erunderNeb.Rev.Stat.j45-702(6)(199:& Supp.2003)ofthe
ActbecauseM ERS is''acquidng loansasanomîneeforlendersin R ebraska''. TheD epm-tment

indicatedthatM EIRS mustregisterasamortgagebankerinNèbraskapesuantto j45-704 ox




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no* thebepnrtmentofan exempéon undertheAct. (E2,E1.14:3,Vol.1I) M-
                                                                 ERS isnot
registerùdasamortgagebmlkerinanyothors'tale.(5:11-19)
         Aler the D epadm ent'? Jtlly 11, 2002 correm ondence, M ER S and the D epaM ent

excllanged num erous faxos,fettcrs and plmno calls concoming wtletlœrhv lts isrequlred to

TegisterasamortgagebnnkerunderlheAct (E2rB1,1-13:3,Vol.11) OaJune19,2003,MYRS
filed aPetition forDeclaratory Orde CTetïen ForDeclazatozy Order''lwith theDepartment
seeldmg afornuldefzvmination asto whetherM ERS isam ortgagebankerwithin them ealng of

theAct,andlerefore,requiredtore#stermssuchundertheAct.(B3,1:3,Vol-11) A hearingon
M'
 ERSTPetidon for Declaratory Olxlerwmsheld before Samael P.Baird (the 'r irector'),
Director of the Depnrtm ent on August 13,2003. Duzing oral m'
                                                            gtvnents, V ERS and the

Departmo tnatw wz tlw issue beforethebiredorto tlle question ofwhdherM ERS'adivities
in Nebraska constimte.diTectly orindirectly.''acquie g m olgageloans'
                                                                    'within th: mealùng of

theAct. (E3,26:3,Vol.1I) r
                         l'
                          heDepxrlmentissued i'
                                              tzbechratory Orderon October7,2003,
fincling thatM YRS is à mortgage banker undc'r the Ad. As the bas'is for its deoîsion,the
D epaltm entgtated thatM ERS directly or indirectly acqlzires m ortgage loans- A s the resultmthe

Depme entdeclarl thatMENN is required to xegistel-asa mortgage'bnxt
                                                                  ken (E3,25-29:3,
Vol.lI)
         OnNovember5,2û03,M BR: oomqnence i1sactïon in theDise ctComlpm suantto the

Adminîsfrative M cedure Act,Neb.Rev.Stat-jj84-901 to 84-920 (1999 & Supp.2003),
petitioning the D istrict Courtto revi- the D epaM ent's dd erm ination tlxat M 1R1:5 m eets the

dtfuûtion ofa m oxgage banker Imdc the Act. In its Order,the Dlstricl Courtupheld the
Depa> ent'sdderminntion thatM ERS acquiresm œ tgage loans tmderthe Actand istherefore

requiredtobelicensedasamortgagebankerundertheAct,('r41-42)

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 (B/303!51.5
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                                      ARGUM ENT

                                             1.

        TIIE D ISTR ICT CO UR T ERRED IN C ON C LUDIN G TH A T M Elts

        M EETS '
               fHE DEFINITION A I<M ORTGAGE BANKER''O DER NTEB.

         REV.STAT.j45-702(6).
                                           IA .

        M/RS DOES NoT I'ACQUIRE*MOATGAGE LOANS OR ENGAGE IN
        ANY     OF   THE    OTM R      M ORTGAGE        BANIWNG       AG W M       S

        DE:cktBEb IN . 45-7:2(63,AND M ERS' ABILITY To IXV RCKSE
        INTERESTS IN A M ORTGAGE LtàM yINCLIY ING THE m GIIT TO

        FO RE CLO SE , IS N O T SU FIPICIENT TO            D EEM     TIU T FIEIRS

        ACQUIRES M ORTGAGE LOANS BECAUSE M ERS M RELY ACTS IN
         A NO IIINEE CAPAG TY #OR 'rM             05> 1k ANb H OLDER O F TH E
         PRO M ISSORY NO'IV SECI/
                                'RED BY TM M ORTGAGE.


         Bection 4$-702(67 oftlw Actprovides: ''
                                               M ortgagcbnnkw mean:aay pexson notexempt
tm del'section 45-703 w ho,for com pensation or gain or in the expœ taoon of com pensatinn or

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ofl'
   erstomake.orisnate.service.negotiate.acpuire.sellworarr= geforten pr-m-oremortm Me
1a.J).
     :inacalendaryeap'.Neb.Rev.Stat.j45-702(6)(1998& Supp.2003)(emphasisadded).
         M BRS doesnottake applicatiens for,vadezwrite otnegofate mortgage laans. M ERS
doesnotmake ororlginate mortgageloaasto coM mlers. M ERS doe,:notextend any creditto

constlmels. M ERS doosnotservicemortgage loans.M EXS doesnotsdlm ortgageloans.M ost



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    importantly,M ERS isnotan investorwho acqaimcsm ortgage loans on thc sccondary market      .



    (.E3,18:3,Vbl.H)
          The DepaM ent and M ERS ap'
                                    ee thatM BRS does no1 undetw rite,makeyoriginate,
    serdcç,negotiate,sell,arrangc foror oFer to m ake. oriA ate,sA ce,negodate,sellorarrange

    for mortgage loans. Therefore. the Dqmrlm ent and M KRS are in ar eementthat the Only

    s'takttory acévity atissue,and theoë y issueforthigCourtto decide. iswhetherM ERS acpuires

    mortgageloans.(E3,26:3,Vol.H)
          M tbouglxtllele slauvehistory oftheActdoesnotdiscusswhy theterm Wacquire''wlzs
    usH iltj 45-702(6),thecommon padance oftlte woH Racquiren in the mortgagebanldng
industl
      y refe s to an investor's acquisition ofa mortgage lo= on tàe secondary market. For

    instazlce,lnNouth Boston dcv-Bank v.Commissiono-o/'
                                                      .Rcn,cz-e,640N.B.2d462(M ass.1994).
                                                      .


a M assaolm setls com'tchn cterize.d the two ways a bânk may come înto possession of a

m ortgage loan- Thecotut inSoui Boston O v.Bank,sited:ttA bzmlcm ay comeintopossession
ofa m ortgage loan d therby dirtttly iss'
                                        ui'
                                          ag a loaa secured by the m ottgage ofrb'alostate or bv

accuirinzaloanpreviouslyissuM bvanothcrlenderv'àId
                                                 '.at466-67(emphasisadded).
          A bdefllistory ofwhy tbe gecondav m ortgage m arketwas created helpsillastrate+ is
comm only lm dcrstood m caning oftlz: term ççacquirc*'. 'l'he sx ondary m ortgage m arketevdlved

to facilitate the free fow ofm oney available form ortgage loans to conmlm ers. W ithoutth:

secondary m arkd.primary mortgage Ienderswould belimited in theam ountofmortgageloans
thoy could m ake to cons= ers lwoause tlmy only have so m ucli capital availablc to m ake

mortgage loans. '
                lN ough the secondary m rketsinvestors acquire loaus fmm the primary

mortgagelenders,thusprovidihgprimary lendersv4f.
                                               11m orecapitalto make addifiônalmortgage
lom zs. The secondary rnatketultim ately provides a free-fow of cash to m ortgage lendœ s to


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    m ake loansto consum = to purchae hom es. The prim ary mortgage lcnder: beneftbecause
    they have additionalcapltalto make more loans and they also rvcvive thdrordinary lehder's
    fees/commissionsfororiginatingt'
                                   heIoan. Theinvestorsbeneftbecause. asowmers oftlle loans.

    they areentitled to the interestlncom e to beeam ed from the 1oans Consumersbenefk becausé
                                                                  .



fllol'e are m ow fmds available foT mortgage loans so m ore oonsum ers can get mortgage

linancing.

          Be-sidesloanttservicing*'activioes,a11ofthemolgagebfmking xctivitiesdesmibed in j
45-702463 involvetheextension ofcredit.ThisCourthaspreWouslyrecogtized thatmortgage
bsnkers lend m oney to conmxm ers.   1TtEquitableSlzfltff/:gandLoanAsx cfcffopofGrandfaltm:
                                                                                          d
v.Eqm-
     tableM ortgageC-orrtva/ïoa.11Neb.App.850,662 N .W . 2d205(Neb.2003),thecoart
ctated thatt'a mortgazehxnlrc'r actuallv lqndsits own lnonev-closes the loans,ct
                                                                               u'
                                                                                ns a selwice

premium fortheloans,and t11* sellstlw loansto O otlwrbant'' Id.at209 (emphasisadded).
The quettion then becomeswhethemM 'IG S lend:m oney to conmim em topurchasehômes, eifher

atthe prim m'y oT sccondary levd. Itisnotdisput/d *atM ERS isnot a pdm azy lendetwho

makes,odginates,ornegotiatesorarrangesforthemnking ororibnating ofamortgageloan
directly to u consum en Sim flarly, M BR S is not an investor w ho acquiges or negotiates or

arrangesforthe acqttisition ofmolgage loans on the secondary marketora bank orservicing

company vvbich acqtliresthe se cing dghtsto mortgage loans forfee incomo. (E3,18:3,
vol.jrl
          n ere isno rationalbasigfordetee ning thatM ERK lcquiyes lôans. I'
                                                                           n its Ordez.the
Ilistrict(ZO:Irtstatecl:

          The procedc es for membersMsing the M B'RS system and docum ents used for

          recordingthemortrages(or)othersecuritydoctr ent,
                                                         sreferenceMERS ashaving

                                               4
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          theright$%o exerdse interegtg.including,bt'
                                                    ttnotlimlted to,the dghtto forecltie

          and sö11thcpropm'ty.and to take any ac:on required ofLenderincluding,btttnot
          lim ited to,releuing and cancelhg this Semlrity lnstlqzm unt'' M ERS' acdve

         participatiom in them ortgageloan industry ofindiv tly ordiredly acquirktg legal

          tltle to mortgages along *1:1. the ability to exercise lender rights sucb.as

          foteclosare are mlë cient to classify M ERS ag ''actpllring''m ortgage loans as

          referenced'
                    imderNeb.Rev.Stat.j45-702(6).(Y42)
         ln itz Order,the IXSG G Courtfailed to recognize thatM BmS,in its agteem entwvith iks

m - bers,calmotexercisesand isconkactually pm lu-bited Y m exercisingyany ofthc lightsor

hterestsin themortgagesorot'
                           e secM ty doctlm e . M EWS isnam ed astheO om inee''oBmer
maless and until it is authodzcd to do so by the realand bmwficialowlv s of suth sezurity

 kocuments. (T38-43) ln theTermsand Conditionsbdwetn M ERS and itsmembers,> RS'
 xtjthority is elearly limited as evidY ced 'by the following provigioh from the Tcrms and

 Conditions:
          M 'RRS + a11serveasm ortgageeofreco/ with resped to allsuch m ongagelom s

          solely as a nominee.in an administratlve capacity,for tlw benefcialowner or

          ownersthmw fâom timeto tim e. M ERS sballhaveno rightswhatsoeverto any
          paymentsmadeon accountofsuoh mortgageloans,to atzy setvicingtiglttstelated

          to such mortgage loan:.orto any mortgaged prope es securing sucb mortgage

          loans. MEQS aveesno:to assertany zigllts tothc'r11* rightsspecifed in the
          Govenzing Documents) V G respect to such mortgage loaus or mortgaged
          prope es.13,1313,Vol.H)



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             M ERS only actswhen directtd to by itsm embersand forthe solebenestof4he owners

'
     mAd holdcrs of thc prom issory notes scctued by the mortgage instnmwnts nam ing M FX S as
     nornineeowner Forthisreason,'M ERN'abilityto p1xerdse M y intercstsin mortgageloans
                     .


     hzcluding therightto foreclose                l                                    ,
                                     ,
                                         isnotmamcientt
                                                      odjemMERSasacqulri
                                                                       ngmort
                                                                            gageloans
     A der the Ad because M ERS doesnotrecolve aay o'
                                                    fthebonefts from taldng suth actions.
     NfElks Aasno interestatal1in tllepromissorynoteevidl cing them olgage1- . M ERS hasno
     fnandalor other intcres'tin whetheê or nol a mortga e loan is repaid. A s desmibed âbove,

     M ERS simply holdsmortgag: fiens in a nom inee cap city and through its electroni
                                                                                       o registry,
     traclcs chr ges iq the
                         '
                            ownorship of m ortgage loaas f1 fhe servicing rights related thereto.
    X RSi                                                   j
             sclearly listed as a nom m
                                      ' ee in them ortgage. w lich isrecorded in thcrealestaterecords.
    W hen a M BRS member seltsor transfers a mortgage loan or t:e sA cing rights th
                                                                                            ereunder,
    NtElkstrackssuoh saleortransferin tlw > RS@ Syste aadtltereisao need forlling anything
    in thereale<aterecordAbecausethem odgagelienremi1ingw1t
                                                            i        1:M ERS. OnceM ERS becom es
                                                                     .
                                                            .i
    the m ortgagee ofrecord of a m ortgage,   KTEQKremains$emortgageeofrecordofthemortgage
    evenwkenthebeneâcialownemhipintm'
                                    egtinllï
                                           emo$*1
                                              l
                                                -
                                                ynotesecm'
                                                         edbythemoftgageor
                                             ed frozn one MlBRg member to another. (E3,3-5:3,
    tlae servicing rights are sold ogtransfrn'
                                                            l
    VolH) ln addition,M EIIS is requirtd by the vadoIus State Rcording statMtes to have a
        .
                                                    I
    recordable lterest i'
                        a the mortgage ilz order for                to be named ln the m ortgage
                                                            l                                       .
    Consequently,> 145 isnam ed asthemortgageein a no ' ee capadty forthe actualownerand
    holderofthepm misgory notegecuM bytâemortgagee dcscribed above.

            M'
             IRk&isnottheowno'
                             rofthepmmissorynotesejuredbythemortgageandhasnorights
                                                            l
    tothepam entsmadebythedebtoron such pzom issory lote
                                                        . Rat
                                                            hersM '
                                                                  RRS holdst'
                                                                            hemortgage
llen asnomlnee fortheownerofthepromissory note.                  Q R isnotthe oMrnerofthe smvicing
                                                            l
J78/:
    *3,51..
          ,
                                                            l
                                                            l
                                                            1
                                                            l
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rightsrelatingto tllemortgageloan and M ERS doegm tsew lce10= .Thebenelicialinterestin

thûmolgage tortheperson orendty wlloseinterestissecurM by themM gage)rt
                                                                      msto th:
ownerald holder oft*e prom iqsory note. ln essehce,M ERS'irnm obiliz> t'
                                                                       he m olgage lien

whiletx s-
         fersofthepromiworynotesandservicingril tsconsnuetooccur 7 3,5:3,Vol.11)
        FoT the foregoing reasons,M ERS oqlm ol be domxmd to be aoqnidng m ortgage loans

lm dertheActand doesnototlwrwise med the defm ition ofam oztgagebanker. Consequently.
1he Coutt should reverse the llistricl Court'
                                            s Order tbat M V s is requged to register r4s a

m ortgagebanker.

                                           I.B.

        THE Dls'
               lqt'G COURT SH OIJLD Ilm               RECOGNW D THAT M ERS'
        oW NEksm p OP A LEGAL INTEREST IN THE SECUW W

        boCITm N       DIG S NOT EQUATE TO G RS'OW NERSHIP OF THE
        PRCO SSORY NII:rE OR OTRER DEDT INSTRUW N T EVD ENCING

        TH E LOAN IIADE TO TIIE CONSY             R


        Each ofthe categoriesofpersonslisted in j 45-702(0 directly orindirectly receive
congidoratlon *om mertgage loa- a'
                                 n.
                                  d.have aa ownGe ip or serdcing interest ln the notes

secured by mm-tgages. Ag m ore fully explm-ned below. M '
                                                        ERS does notm ake or atquire

promissorynotesokdebtine zmentsofanynature nod thereforecnnnotbesaid to be acquiring
m ollgageloaas. M ERS simplyholdslegaltitle to mortgagesand deedsoftnzs'tasanom inee for

the ov'neroftheprom issorynote.M BR S'H no iaterestin thenotessecuru by m ortgages or tltc

s'
 en-icitlg rightsreluted thereto.




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        The Depadment assettq th/ M ERS de tly or indirecdy acqle es mortgage loans
becausoAV RS holdslegaltidetodeedsof% storm ortgagesin anomineecapacity forlenders.

Atthe hem4ng on M ERS'Petition for Dedaratory Ortler.counqelfor the Department stated:
'I
 M ERS lsthem ortgagenomlnee orbenefc'
                                     iaryncmlnee.'rhereibmaitacquhvstheler ltltle.to
tlw mortgagq loaa wlmn the conveyance is mcordod.'' (E2,5:3.Vol.l1) Furthermore,the
Depnztmem asstrtsthatM ERSholdstitletoNebre arealpropelty.(E3.4-5:3.Vol.I1) These
assertions by the Dqpartmentare in elw r. M ERS holds legaltitle to them ortgage or deed of

fnzstizza nominee capadty simply to immobilize the mortgage lien in M ERS and to provide

NfB,lks 4'vith a recordable interestto comply 541111tlteTecording stamtes ofvadous sGtes. The

 mortgagelomlrefersto theprom issorynoteto wàich M FRS doesnotacquire any interest-
         The Departm ent's analysis is ftmdrrmentally flawrd beoause it fails to reoognize an
 important distinction between a loan insm mwnt = 4 a securi'
                                                            ty instrument. By s-taûng tllat
 M EIRS acquite,qlEgaldtleto thex%nortgagelbatf'.theDep-     ehtconftuegtheAmnlysis. M ERS

 doesnotacquix anyintcresttlegalozbcnofcial)
                                           .iatholoanirlstnznu t(i.e.,thepromissorynote

 orotherdebtinstrtmlent). Rather,X RS,in a nonlinee capacity for lenders,merely acquires
 legaltitletothesemtriw instrllment(i.e.xt:edeedoftnzstormortgagetllatsecurestlleloan).
          ThcDepartmertt'sposition thalT% ortgageloansarenotlegally divided undertheAd''is

 illconect. ln j 45-70246),theword çfmortgageMmodl
                                                 'Gestheword Qoxnsr to sm dfy certain
 typesofloans- loanssectlredbyinterestsin realproperty.rl'he Act'sdeflnltion ofa f*
                                                                                  m ortgage

 10a4/'in 9 45-70248)makesthispointevenmorecertnm
                                                ' .Section 45-702(8)ol-theActdelnes
 f'mortgage loalf'to m ean f'anv lopn or çxyeaéou -
                                                  of0-m41
                                                        4 secm '
                                                               M by a lien on realpropelly,
 ineluding a refinancing ofa contrnntofsale or an assumption orrefinancing ofa priorloan or

 extensionofcredit*'Neb.Rev.Stat.945-702(8)(1998andSupp.2003)(emphasisOdedl.

                                               13
 .T1-8/3031535
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      Absentamzthlngtothecontrary,statutorylanguageistobeSvenitsplainmeaning,and a
courtwillnotlook beyond astatateori'
                                   nterprd itwhentlw meanùtg ofitswordsareplain,dfrect

andtmambiguous.DLR lnc.v.LancasterCazfz;f.ykoard o-/-cb-plf-
                                                           ç.
                                                            WtMc+:,264N'
                                                                       eb.352,648
N.W -2d277 (2002.
                ). Fbrther,in Little.
                                    P&eNaturalAeao?zrce.:Districtv.LowerPlatteNorth
NaturalResourcesDflfrfc/,206Neb.535,294N.
                                        W 24598(198W.ti1ecomlstated)
       Cardinalntlesofstatutorv constnzction-however-pm hibitusfrom-ianolingentire

                                 .theplaia m eaning of a statutp a straintd or absurd
       plmasesofa statate orRivinp-    --




       intem retatiom ''W here the language ofa sta-te (s plain and unambiguotls,no

       intep retation is needed and fhe COU.
                                           / is wilhout Authority to change tlze

       language.'' City of Grand Island v.(7,* /1/.
                                                  ,,of /êc2,l96 Neb.282,286,242

       N.W .
           2d858,861(1976)-
               ln intezpreting t'
                                he '
                                   m elm'ing ofa slattltory pmvislonathew hole provision
        should be read in otder to arrive at a concfugion as to its proper m eaning.

       Pettigrew v.HomeIns.Ca,191Neb.312,214 NtW -2d 920 (1974). M oreovm'
                                                                         ,
        courtssàould :ve stamtory languageilsplain and ordinary meaning. State v.
        One 1970 zm oor Ne#ca Rawnbler,191 Keb.462,215 N.
                                                        W .2d @49 (1974))
        Connorsv.Pantano,165Ncb.515,86N.W .24367(1957)-
 LittleBlueNaturalWeâwvrce,
                          gDisy ct,294N-W .2dat603(enphasisadded).
        Fa'om theplain faceofj45-70248.
                                      ).itiscler thattheActisintendedtoregttlateand to
 tequiee the licenstu'e of persors w ho, inter JDz;,acquire Noans'',not percons who acquire
 mortgagew deeds oftlvs'torotâerseculity instrtlm ents. 'I'he words 'Gany loan oT vxtension of

 credif'setforth in j45-702(8)clearlysugge,stthatthelending ofmoneyomextending ofcredit
 orarrangiug forornegotiatiugtllelendingofmoney (forexa plealoan broker)istllectmduct

                                               14
 5 8/3* 151-
 .         5
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being regtllated by the Act. '
                             llis ''ple menming''htem retation of the Act's defsoitlon of

''mortragelom ''isin accoTd withtim comm only understoodm eaningoftheword ''1oan''.

        W ebster'sDidiono defm es*10a11*as:money lentatinterest;somdhin
                                                                      'g lentusually for
thebozmowcr'stemporaryuse;etc M e'
                                .
                                 rriam W obster'sCollegiateDictionmy 683(10*ed.1993).
SinceM BRS doesnotacquiw anyinlerestin adebtinstrumenttvidencing aloan (i.e.,mcmey
beinglentatinterest)anddoesnotmakeloans,aaa'
                                           ngel-
                                               orloansoTnegotiatethetermsofloansm
itcnTmotbe said to be acquiring loans.hmluding mortgage lormKs aad thvarefore itlogically
cannotbedeem ed a m ortgagebankc . Tlms,undera Nplain m eAning''kfterpretalion oft11:Act,

including the deGnition ofa mortgagebrmker,în orderfora pexson lo acquire am ortgage loan,

such person m ustacquire a legal or bgnelicialimerestin the promisx ry note or other debt

instrtm lgntcvidencing such m ortgage loan.
        A sdem onA ated aboveathe A ctdistinguishes the ihtere> in the pm m issory note or debt

l stm menton theo>ehandyffom lnteresisin 1Nedeed offzus'torsecudtyinskum enton theotber.

 ltisimportautto underAand thatM FX S m ay acquil'e alegz izltm'estin a mortgage ordeed of
 trust(asnominee fortlle actuallender)withoatacqte g any corresponding interest,lcgalor
 beneicial,in t1w promissory note securedby s'uch deed oftnut.Thisisbecausethenoleowner
 appoiutsM ERS to beitsagenttoonly hold tlzeTnortgagehen inferest,notto hold any interestin
 the note. BesidesM B'
                     ltsaotherparties acqlzire legalintc estq in dee s of trustw-itlloutbeing

 decm ed mortgageBamke,
                      rs under the Act. Forinstance,under the Nebraska TrustDoedsAct,
 Neb.Rev.Stat.jj 76-1001 to 76-1018 (1996 and Supp.2003).aborrowermay convey real
 propertybyatrugtdeed to athid paxy % stee assecurity fortheperformmwt ofQw bolw wer's

 obligationstohisierlender. Althoul atrusteeurlde,
                                                 rtlleNebrarskaTmstDeadsActreceives
 ltgaltitletothetrustdeod sccuringtllcbolrowcr'sobligadons,the tm steeoften dpe'snothold an


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interest(legalorbenef
                    'cial)ia tb.
                               epromi>orynoteordebtinstramem mridencingdzeborrower'
                                                                                  s
obHgations. As such,thc% stee m crely holdslegaltitlc in a noainee eapacit.v forthe lender,

muchlikeMBRJ.YetneithertheTnlstDeedsAd northeMortgageBankcrsAd requiressnzch
trusteestoregisterasam ortgagebnnlcm-,dem iteholding lesralEtle.
         11laddition to tlltforegoinw courtshave âequently notod theoriticaldifferenoe between

 loan instnlm entsand security imKtnlm ents. A m ortgage and a pm missory noteare separat:and

 distinctdocuments.Craddockv.Brinklnb6*F1So.2d662,665(Miss.1996).
         Accordingly.apeaon mdy hold legaltitleto a Aote while o oindng anotherentity to
 hold legaltitle to tlle mortgage secudng such note. 114the m ortgage bnnt-lng industryait is
 s'tandard industrypracéceforan investorxsuch asFatmieM aeorFreddieM ao,tohold legaltitle
 to notessecuredbym ortgages= duseaseparateserdcing entityfo hold titleto them ortgagevia

 a recorded mortgage orassignmenl. W itx tlle developm entofM ERS,these interests arenow
 m litthreewlysinstead ofhvo.'l'
                               heinveslorcontinne:to own and hold thepromissorynote.but
 undar the M BItS(& Syst= ,fhe scvvicing entity only lmlds contractual servicing rights and

 M BRS holdslegalthletothemortgageasnomineeforthebeneftoftlleilwestor(orUwnerand
 holderoftltenote)altdnotforifsetf.M ERSdoesaotholdaayinterest(.
                                                               1egalorbenescialjinthe
 prom issory notesthatare secumd by sucN mortgagesorin any senricing l4ghts assodated vqth
  themortgageloan.Thedebtoron thenotvowesnoobligation toM R S x'
                                                               nd doesnotpayM ERS

  ûn thenote. M BRS holdslegaltitleto th:mortgage forlhebene tofthe o:vneroftlle note. J.
                                                                                        n
  effect,themortgage lien becom esimm obilized by'
                                                 M L71's eoY uuing to hold tlle mortgage lien

  wlaenthenoteissold9om one investorto mmthc %4aan endors= entand dolivory ofthenoteor

  thc transferofthe servich g rights 9om one M 'RRS m emberto anotherM ERS m emberNria a
  putchas: and sale agreement which is a non-recod able contractcalright. Legal title to the



  j11/3(13151.
             5
Case 9:12-cv-80364-KAM Document 42 Entered on FLSD Docket 07/03/2012 Page 33 of 48




mortgage rem ains itlKIERS aher such transfers and is H cked by M ERS in its electronic

resstry.(E3,4-5:3,Vol.1f)
       Asdem onskated above.M ERS cannotbtdeem ed to be acquiring m ortgage leansunder
theActbecatlseftdoesnotobtain legalorbeneicialtitle in loan iastntments. M ERS doesnot
aoquire an intorestin promissory notosortkbt1z1s1:r111210*
                                                         .
                                                         * ofarlynahu'
                                                                     e.Plainly interprded,the

Actreqttires the licensw e ofpersons who acquire lors ofthe molaage vmietv (i.e.,loans
securedbymortgages).Forihegereasons,theCourtshouldgKognizethatMPA S'ownersllip of
a legalinterestin the securit.y docum enlsregiytered on tlle M ERS@ Systa doesnotequatc to
M ERS owncship ofthe debtlnsH m entsevidencing the loa smade to consumers. The Com't

should furtherrecoN izethatwitbolztowming an intgrestin the debtinstrtzments.M ERS cnnnot
be deemed to be acquidng m odgage 14- :tmdertlm Act. Asaresult,the Courtshottld reverse

theDistrictCourt'
                sM erthatM ERS isrequired toberegistered asamortgagebmlker.
        Forthe foregoing Teasons,the DiM ctCourterred in concludjng tlmt* 1t,
                                                                            5 m edsthe
 defmition ofafmortgagc'
                       bsnktr''lmderNeb.Rev.Stat.j45-702(6). Consequently,tlw Cotuvt
 shouldrtversetheDlstrid Court'sOrderand determination thatM ERS Isrequired to registerasa
 mortgagebahkertmdertheAd and tlm Courtshould find t11* M ERS ig notamortgage banker

 undertheAc1andisthr forenotreqttiredtoregistertmdertheAct.

                                             H.
         TIIE DISTW CT CO URT ERRED BY FAILING To DETEKM M                     THAT

         H ORTGAGE EO AN CONSUG RS W II.L NOT BE HARM ED fF M ERS

         IS NOT REGISTERED AS A M ORTGAGE BANK'R




 7.
 .1833431,
         51.5
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         TheDepm% entassertsthatantunberofpotenkalproblem sformortgageloan custom ers

 cottld atisel
             'fM BRSi:notregistered asamortgagebanket lncluding

                M ERS keeps a1l of its rœ ords for molgage traasactions in Rs central

                dahbase,which is accessfbleonly to itsclients< t.
                                                                11a legalinterestin the
                m ottgago.

                W ithoutEcensure,M ERS isnotrequired to posta sccty bond or other

                form of secudty to protectconvm ers &om da ages resnlting from its

                poten:alhAaction oracfon.

                Due to tlw p/vate natom of M BRS' blxsltleds. if M ERS
                                                                    , goes out of
                business, its recotds m ay becom e O m pletely inaccessible to tlle public

                and theexpensesto updatethepublicreco'
                                                     rdsm ay besigtv cant.
                MTINR meyfailtotimelyreleuethesecurityinterestitholdslegaltitleto
                tmde,
                    radeedoftnlstorm ortgagewhena= ortgageloanigpaid ol'l
          5,    Conaum ersm ay discoverthatrealestate liensaxenotproperly recorded,
                and ifM ERS isnotrequired tom aintain alicense,M ERS doesnethavean

                incenNve to answ ercoasm nercom plaintsand conmlm crsw ould mothave a

                venue.@ 2,10-11:3xVol.H)
          '
          l'he Depaement's conc= w1t11eaG of these potentialproblems ism isplaced. h the
 m ortgage bpnklng lndustry, after l m ortgage lo> is m ade, it ls se dard pracdce fo: the
 pronlisscry note eddencing the loan and the servicing Hglltg asgedated with tlle loan to be

 transfcrred,> 1d M d resold m mly tim es. Prior to M H S,an assigmncntor other appzopriate

 documentwasr        ' to beFIIGIin the rtalestateTecordseach time tl:e servicing rights of a
 m ortgageloan weretransferredbecaugethenew sew icerneM ed to appearin theland recordsin

                                                18
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 orderto receiveservice ofpm cess.Thisresited in m issed orinaccurateasgignmentscaudng an
 lmctearorbm ken chaia oftitle to am ortgage loan il therealestaterecotds. Asa consequence,

 tlw transfcroftheownership interest1,hlcludinglegaltitleto,m ortgageloans,and theseY ciug

 rijhts rtlating to.
                   m ortgage Ioans,and tàeTelemseofmortgage '
                                                            lienswas a c= bersome and
 txpcnsive process to allinvolved,kmluding consom ers because thereseaz'ch and recording costs

 areoftcm paxsedontotheconsumer-(E3a3:3.Vo1-11)
        The M FR S* System provides an enormous cost benest to consum= beeause these

 recording and research cost.whick were form atly passed on to the com um ers,no longerexist
 undertheA4BItS* System .'
                         fhe M 1m &@ S'ystcnasimply isaway to increasethc efzciency and

 accuracy oftracking tNe owilee ip of t:e dghts associatM -4tE m ortgage loans Bo that the
 mortgage indastry ca'
                     n bettarand more econopically serve a grOH nnznberofpee le. W hat
 M ERS tracksm'e non-recordable trlmnfcs. Servicing rightsa;etransfez'
                                                                     red vis-à-visapcchase

 ând salt ar eementwh ch isa non-recoM able con> cthght. The bcnefcialnöte intere:t: are
 transferred by endorsem entand delivery ofthe note which is also anon-recod able event. The

 mortgag: lîenremainsw it.
                         h M 'FRS so no assignmentofthem ortgagelien isneeded when these

 non-recûrdableh'
                ansfem occazaadaretratked on theG RS* System .
         Othertllau the costsavings tbalthe M EQ X* System passes on to consum ers of loans

 from * 115 m em bers,conmzmersazvlargely tmaffededby M ERS'involvementin them ortgage

 bnpkingindustry.ItistnletlmtM ERS're#stryordatabae(trace gtheownershipinterestand
 serdcingrights)isonlyactessiblebyM RRS'members,thepublic,ûtno cogthagaccesstothe
 zjameand telephonehumberofthecurrentm ohgageservicer7 daysawetk,24hoursaday.11is

 the servicer th< tlle congnm er nee s to comact for speciic loan inform adons not M EAS.
 M oreovera the '
                M M S* System does not adversely affed the bonvwer's dght to such


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 infotnnation because,under federal laws.each tim e tbe serdcing rigbts to a m oztgage lo=

 chnwge,theborm werisnotifed ofthenew serviceroftheloan.See24 C.F.R.Part3500.21asof

 4/1/03(H1JD'sReg,m .
         Fartherm ore, none of the other potentialproblem s noted above by the Depa> ent
 adversely affxtconmlm ezs- M ERS islargely transparentto the consunwr. Origklallendersof

 m ortgage loans,itw estlvs wlm pm clmse oracquirem ortgage loanson the secondazy m arketxand

 pervicc'rb ofm ortgage loansare the Gpersons''underthe Ad th2 m ortgage loan consumersneed

 to be protected 9om because itis these persons w ho actually underwrite loans,m ake loans,
 serdcelonnx,acqukeloans,aadultim atdy dœ idewhetherornotaconsum erisi.
                                                                      n defaultonthe

 loan.

         < 115 doesnotcollectm ortgagepaym ents. M ERS do> notlmld escrowgfortaxesand

 insurm ce. M ERS does notplm ride any senricing funcdoms on mortgage loans,wlzatsoevwr.
 Thoserightsaretypically held bythe:erviceroftlteloam whom ay orm ay nötalsobetheholder

 ofthe note. 'The benefcialinterestin the m ortgage forthe person or entity whose interestis
 securedbythemortgage)rttnstotheownerau.
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  Courtshould mverse tlle Distrid Court's Order that * 115 is required to be regiMered as a
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